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                             Exhibit
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      September 13, 2021

      VIA EMAIL: the@denveregotist.com
      Mr. Shawn Miller
      The Egotist, LLC dba The Denver Egotist
      2 Central Street #13
      Ipswich, MA 01938

      Re: Pickersgill v. The Egotist, LLC dba The Denver Egotist
          Our File: 00652-0009

      Dear Mr. Miller,

      We are a law firm making a claim on behalf of our client. We know that this is
      reaching you during a difficult and trying time and that you may have more pressing
      concerns. We appreciate that responding to this letter may not be your first
      priority. However, we must receive a response from you so that we know that you are
      taking this matter seriously, even if you need more time to hire a lawyer or report this
      claim to your insurance carrier. If we hear from you then we can work with you to
      understand your position and resolve our client’s claim. Please respond to us.

      We write on behalf of our client Eric Pickersgill, a photographer, for purposes of
      resolving a case of copyright infringement against you by our client. This demand is
      privileged from disclosure pursuant to FRE Rule 408.

      Please provide this letter to your general liability insurance carriers or other providers of
      insurance that may cover this claim.

      Eric Pickersgill (“Pickersgill”)
      Our client is an experienced professional photographer who makes a living from
      photography. Eric Pickersgill is a full-time artist, husband, and father working in North
      Carolina. He received a Master of Fine Arts degree at The University of North Carolina
      at Chapel Hill in 2015. He was born in Homestead, Florida in 1986 and spent his teenage
      years in Charlotte, North Carolina. Eric received a Bachelor of Fine Arts degree with a
      concentration in Fine Art Photography from Columbia College Chicago in 2011.
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      Between 2011 and 2013 Eric taught high school in Charlotte, NC via Teach for America.
      His passion for teaching and image making allows him to see the connections that the
      two share. The work Eric makes is often about photography as he explores the
      psychological and social effects that cameras and their artifacts have on individuals and
      societies. Eric has exhibited and presented his work internationally at institutions,
      galleries, and art fairs such as The North Carolina Museum of Art, Pantheon-Sorbonne
      University, The Ackland Art Museum, Rick Wester Fine Art, Pulse Art Fair Miami,
      AIPAD, and many more.

      Pickersgill retains all copyrights to his photographs. Pickersgill licenses his copyrighted
      Works, such as the ones in this case, for commercial use.

      Pickersgill created the images, hereinafter referred to as the “Works.”

      One of the Works at issue is shown below, the others are attached.




      Pickersgill registered the Works with the Register of Copyrights on July 5, 2016 and was
      assigned the registration numbers VAu 1-258-364, copies of which are enclosed.
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      The Egotist, LLC dba The Denver Egotist
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      Infringement by The Egotist, LLC dba The Denver Egotist (“Egotist”)
      We have enclosed contemporaneous evidence of the infringement by Egotist. You have
      employed our client's Works in at least the manner indicated in the evidence attached.
      You are fully aware that the Works you used are our client's Works. No one from your
      company ever sought a license from our client to use the Works for any purpose.

      You have copied, displayed and distributed our client's Works without permission,
      license or consent. The use of a creator's photographic image without written consent or
      license violates the United States Code, Title 17, and The Copyright Act. The Copyright
      Act provides for entry of an injunction directing removal of the offending materials
      pending litigation. This letter shall serve as formal notice that you immediately cease
      and desist all unauthorized uses of our client's Works. Any such further uses shall be at
      your peril.

      If you possess a contract, license, agreement or writing on which you will rely for
      authorization of your use of our client's Works, please provide us with this evidence so
      we may avoid further controversy or litigation. Otherwise, we will be forced to assume
      that your use violated the law.

      Damages
      Copyright law provides several different elements of compensation to Pickersgill when
      a work is infringed or altered. Section 504 permits Pickersgill to recover actual damages
      plus “any additional profits of the infringer that are attributable to the infringement and
      are not taken into account in computing the actual damages,” or statutory damages of
      up to $150,000 per work infringed if the registration predated the infringement.
      Pickersgill can present both damages theories to the jury and select the higher award
      any time prior to entry of judgment.

      Academic studies have demonstrated that the use of good quality photographs more
      effectively market and advertise products and drive sales. Pickersgill's photographs are
      of the highest quality. Pickersgill's photographs are also scarce since he is one of the
      only sources of such quality photographs.

      Pickersgill's damages are not limited to what he would have agreed to license the Works
      for prior to the infringement. Rather, Pickersgill's actual damages will be measured by
      the fair market value of the photograph considering Egotist’s use to sell and promote its
      business. Pickersgill's actual damages must be measured in light of Egotist’s use of
      Pickersgill's high quality and unique Works.
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      The Egotist, LLC dba The Denver Egotist
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      This is consistent with federal courts’ approach to broadly construing the term “actual
      damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
      (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
      approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
      Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
      addition, Pickersgill can offer evidence of the actual cost to take the photograph
      infringed on a time and materials basis.

      Section 504 of the Copyright Act permits Pickersgill to recover actual damages plus “any
      additional profits of the infringer that are attributable to the infringement and are not
      taken into account in computing the actual damages.” Therefore, Pickersgill will also be
      entitled to Egotist’s profits from the infringement, based upon the revenue Egotist
      earned in connection with the use of Pickersgill's Works.

      Alternatively, Pickersgill could seek statutory damages for infringement in an amount of
      up to $30,000 per work infringed if the registration predated the infringement. There is
      also the possibility that a judge or jury could determine that Egotist’s infringement was
      willful. If Egotist’s infringement was shown to be willful, the statutory damage award
      would increase to an amount up to $150,000 per work infringed.

      Demand
      In order to determine how to proceed, please provide us with information and
      documents showing:

       1.    the full nature and extent of the use of our client's Works, in any and all formats;

       2.    representative copies in any and all tangible form and media in which our
             client's Works were incorporated or employed; and

       3.    the source of the Works.

      Upon receipt of this information, we will consider and determine an appropriate
      amount required to be paid to our client in compensation.

      Please carefully consider this letter and the associated exhibits and provide them to your
      attorneys and insurance carriers. If we do not receive a response from you or a
      representative by September 27, 2021, we will take further steps to protect our client’s
      rights. We look forward to your prompt response.

      Sincerely,
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      The Egotist, LLC dba The Denver Egotist
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      SRIPLAW




      Joel B. Rothman

      JBR/lmd
      Enclosures
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4/28/2021                                                                                                          Photographer Eric Pickersgill's Series 'Removed' Shows Us How Our Devices Divide Us - The Denver EgotistThe Denver Egotist




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                                                               PHOTOGRAPHER ERIC                                                                                                                                 SUBMIT WORK & NEWS
                                                                                                                                                                                                                                  ADVERTISE WITH US




                                                               PICKERSGILL’S SERIES   Editorials
                                                               ‘REMOVED’ SHOWS US HOW LOSING $30K IN 30 HOURS –
                                                               OUR DEVICES DIVIDE US   RESPONDING TO COVID-19
                                                                                      AS A CREATIVE
                                                                                                                                                                                                                ENTREPRENEUR: BY ADAM
                                                                                                                                                                                                                VICAREL
                                                                                   0                                                                                                                            by The Denver Egotist / April 7, 2020


                                                                                                                                                                                                                IT’S 2019. ARE WE FALLING
                                                                                                                                                                                                                BACK INTO GENDER
                                                                                                                                                                                                                CLICHÉS? LET’S KEEP
                                                                                                                                                                                                                MOVING FORWARD, IN
                                                                                                                                                                                                                COMEDY AND ADVERTISING
                                                                                                                                                                                                                by The Denver Egotist / February 26, 2019


                                                                                                                                                                                                                THE CASE FOR SLOW
                                                                                                                                                                                                                DESIGN: MAKE ART, NOT
                                                                                                                                                                                                                PRODUCTS – BY JESSE
                                                                                                                                                                                                                WEAVER
                                                                                                                                                                                                                by The Denver Egotist / January 11, 2019




                                                                                                                                                                                                                Recent Jobs

                                                                                                                                                                                                                MEDIA ASSISTANT
                                                                                                                                                                                                                Explore Communications / Denver


                                                                                                                                                                                                                DIGITAL MEDIA COORDINATOR
                                                                                                                                                                                                                Explore Communications / Denver


                                                                                                                                                                                                                PROGRAM MANAGER
                                                                                                                                                                                                                Anthem Branding / Boulder, CO


                                                                                                                                                                                                                SUMMER INTERNSHIP (AD &
                                                                                                                                                                                                                WRITER)
                                                                                                                                                                                                                Made / Boulder, Colorado


                                                                                                                                                                                                                WEB & GRAPHICS DESIGNER
                                                               By The Denver Egotist / September 26, 2019 /
                                                                                                                                                                                                                Denver Zoo / Denver
                                                               Artist Pickergill’s photography series, Removed, went viral and touched a collectively universal nerve. He
                                                               makes visible what so many have tried to explain about the ways personal devices alter human
                                                               behavior, helping us relearn how to be truly connected in our device-dominated age.
                                                                                                                                                                                                                Recent Comments

                                                                                                                                                                                                                Hilda / British Artist Spent the Last Month in Boulder
                                                                                                                                                                                                                Casting Women’s Vaginas
                                                                                                                                                                                                                Disgusting. Typical Irish trash. ...[Read More]


                                                                                                                                                                                                                Jay / Boulder’s Fortnight Collective Adds Adam
                                                                                                                                                                                                                Chasnow as Partner/Chief Creative Officer
                                                                                                                                                                                                                To this day, his Hollywood Video radio spots from
                                                                                                                                                                                                                his time at Cliff Freeman make me laugh every time
                                                                                                                                                                                                                I hear them. ...[Read More]


                                                                                                                                                                                                                yikes / Boulder’s Fortnight Collective Adds Adam
                                                                                                                                                                                                                Chasnow as Partner/Chief Creative Officer
                                                                                                                                                                                                                Wow, this guy has, uh, a reputation... ...[Read
                                                                                                                                                                                                                More]


                                                                                                                                                                                                                Geelix / The Tuesday Rant: Advertising Awards;
                                                                                                                                                                                                                Self-serving or What?
                                                                                                                                                                                                                No one can go. You all hide behind your computer;
                                                                                                                                                                                                                why don’t you handle it with the appropriate person
                                                                                                                                                                                                                for your own matters...if you have a pro ...[Read
                                                                                                                                                                                                                More]


                                                                                                                                                                                                                Chris H / The Tuesday Rant: Advertising Awards;
                                                                                                                                                                                                                Self-serving or What?
                                                                                                                                                                                                                I have a list of naughty and nice who can attend
                                                                                                                                                                                                                and who will burn. ...[Read More]




                                                                                                                                                                                                                Featured Profiles

                                                                                                                                                                                                                                                C'MON
https://www.thedenveregotist.com/news/2019/09/26/photographer-eric-pickersgills-series-removed-shows-us-how-our-devices-divide-us/                                                                                                                                       1/3
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4/28/2021                                                                                                          Photographer Eric Pickersgill's Series 'Removed' Shows Us How Our Devices Divide Us - The Denver EgotistThe Denver Egotist

                                                                                                                                                                                                                                                Now is your chance to
                                                                                                                                                                                                                                                be featured across the
                                                                                                                                                                                                                                                site.




                                                                                                                                                                                                                Upcoming Events

                                                                                                                                                                                                                               FIRESIDE CHAT #3:
                                                                                                                                                                                                                 04.30
                                                                                                                                                                                                                               THE MAGIC OF THE
                                                                                                                                                                                                                               DYNAMIC DUO
                                                                                                                                                                                                                               April 30, 2021


                                                                                                                                                                                                                               DIGIMARCON WEST
                                                                                                                                                                                                                 06.16
                                                                                                                                                                                                                               2021 – DIGITAL
                                                                                                                                                                                                                               MARKETING, MEDIA
                                                                                                                                                                                                                               AND ADVERTISING
                                                                                                                                                                                                                               CONFERENCE &
                                                                                                                                                                                                                               EXHIBITION
                                                                                                                                                                                                                               June 16, 2021




                                                                                                                                                                                                                Latest Member Updates




https://www.thedenveregotist.com/news/2019/09/26/photographer-eric-pickersgills-series-removed-shows-us-how-our-devices-divide-us/                                                                                                                                       2/3
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4/28/2021                                                                                                          Photographer Eric Pickersgill's Series 'Removed' Shows Us How Our Devices Divide Us - The Denver EgotistThe Denver Egotist




                                                               Category: Photography International




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                                                               Email *




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                                                                       POST COMMENT




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                                                               IF YOU HAVE COLORADO                                                                                                                             The next generation of wireless is coming.


                                                               ADVERTISING OR DESIGN
                                                                                                                                                                                                                REMADE video for CTIA (Cellular
                                                                                                                                                                                                                Telecommunications Industry
                                                                                                                                                                                                                Association). dlvr.it/QPzqRkpic.twitter.com/XsJrhSC

                                                               NEWS, LET US KNOW.                                                                                                                               grF

                                                                                                                                                                                                                About 3 years agofrom The Egotist Network's Twitter via dlvr.it

                                                               If we don’t know it’s out there, we can’t put it up for the city to see. We’re happy to give full credit or keep things
                                                               anonymous. Submit News & Work




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                                                               Colorado advertising community.                 thousands of companies looking                 Submit yours to have it listed.
                                                                                                               to hire.                                                                                         General Inquiries
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                                                               Terms & Conditions
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